Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 1 of 8

ERIC A. HAZEN

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U.S. COURTS
FEB 28 2018

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IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF IDAHO

ERIC A. HAZEN,

Plaintiff,
v.
CITIBANK, N.A.
Defendant.

 

 

CaseNo. i:l?fC,\/- l03 “'E)L\A/

COMPLAINT AND DEMAND FOR
JURY TRIAL

COMES NOW, Plaintiff, ERIC A. HAZEN (“Hazen”), and for cause of action against the

above-named Defendant alleges as follows:

NATURE OF THE CASE

1. Hazen is a fenner employee of the defendant, Citibank, N.A. (“Citi”). On at least two

occasions, his employer refused to make a reasonable accommodation for his disabilityl

In the final instance, Citi terminated him rather than consider the accommodation Hazen

brings a claim of discrimination and retaliation, in violation of the Americans With

Disabilities Act (“ADA”), as well as the Idaho Human Rights Act.

JURISDICTION AND VENUE

2. This Coul“c has subject matter jurisdiction under 28 U.S.C. § 1331 because the case

involves questions of federal law under 42 U.S.C. §§ 12101 et seq. It also has

COMPLAINT AND DEMAND FOR JURY TRIAL

Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 2 of 8

supplemental jurisdiction over state law claims under 28 U.S.C. § 1367(a).
Venue is proper in the District of Idaho under 28 U.S.C. §§ 1391(b) and 1391(0) because
all of the events giving rise to these claims occurred in the District of Idaho, and all
parties reside or are located in the District of Idaho.
PARTIES

Hazen is an individual who cun'ently resides, and has resided at all times relevant to this
action, in the state of Idaho.
Citibank, N.A. is a division of Citigroup Inc., a corporation organized under the laws of
the state of Delaware. Citi has offices and employees located in Meridian, ldaho.

GENERAL ALLEGATIONS
Hazen began working for Citi in 2006.
His job duties at the time relevant to this complaint were that he would take incoming
calls from customers regarding their credit card payments or adjustments
He also trained new hires.
Hazen has one or more physical or mental impairments
These include ankylosing spondylitis and arthritis, which limit musculoskeletal function.
Additionally, Hazen has depression and anxiety disorder, Which limits his overall
cognitive function and his ability to concentrate.
Because of Hazen’s impairments, he periodically took time off work using either medical
leave or leave under the Family Medical Leave Act (“FMLA”).
Supeivising personnel at Citi were aware of Hazen’s physical and mental impairments,

both because of the leave he took as well as because Hazen specifically informed them of

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 3 of 8

his impairments

In 2011, Hazen became aware that Citi management recorded the use of Family Medical
Leave in all employees’ Performance Evaluations (Scorecards) on a monthly basis.

He let the Human Resource Department (“HR”) know that he disagreed with the business
practice of recording employees medical leave or use of FMLA absences in their
Scorecards. 1

In 2012, Hazen raised the issue of employment discrimination by alleging that hiring
managers used FMLA medical leave recorded in employee scorecards for hiring and
promotion decisions.

At one time his manager Ms. Reczek told Hazen that he should just find a new job
creating a hostile work environment

Hazen had arthritic pain and stiffness, which was often worse in the morning.

On Januai'y 4, 2013, Hazen requested to be changed from day shift to swing shift, as an
accommodation for his arthritis.

Operations manager Susan Oster infon‘ned him that the request would be evaluated.
The request for an accommodation of switching from day to swing shift was denied.
On January 26, 2013, Hazen took a medical leave of absence.

He also filed for short-term disability at that time.

Met Life approved FMLA leave from January 26 through March 26, 2013.

On March 4, 2013, Hazen was admitted to the hospital.

He had nearly died due to the interaction of certain medications he was taking.

Citi was made aware of his hospitalization

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 4 of 8

Ms. Reczek gave Hazen a poor performance review due to his medical absences.
Medical personnel took Hazen off some of the medications

He had withdrawal symptoms from being taken of the medication.

One of the symptoms was intermittent, brief`, perhaps a few seconds, of black-outs.
These black-cuts were inconvenient to have when talking with customers.

In mid-Apri12013, two positions in the offline manager assist unit (“MAU”) became
available

A position in the MAU would offer a more flexible schedule.

Additionaily the MAU positions required fewer or no telephone calls.

Hazen was qualified for the MAU position, as he had worked in that unit previously.
The MAU positions paid less, as employees in those positions could not earn bonuses.
Because Hazen was having short black-outs, and because he needed a more flexible
schedule, he applied for the MAU position as a reasonable accommodation for his
disabilities

Citi refused to offer Hazen the MAU position.

On or around April 19, 2013, Hazen was transferred to a new unit.

His new manager was Ted Harmon.

Hazen informed Mr. Harmon about his disabilities and his symptoms of` medication
withdrawal, including the black-outs.

He told Mr. Harmon that he would probably need short periods of time off, as well as
other accommodationsl

On April 22, 2013, Hazen again requested assignment to the offline MAU due to his

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 5 of 8

medication withdrawals and black-outs.
Mr. Harmon flatly denied these requests.

Mr. Harmon’s notes of the conversation reflect that Mr. Harmon advised Hazen of the

selection process and that it was unlikely that any candidate Would be considered under a

“non-standard lens.”
Shortly thereafter, Hazen asked for unpaid medical leave.
Hazen’s FMLA time was exhausted for the year, but it would renew again in late June
2013.
The request for the accommodation of temporary unpaid medical leave was denied.
On May 14, 2013, Hazen was discharged from Citi.
Hazen filed a complaint of discrimination with the Idaho Human Rights Commission.
The Seattle Field Office of the U.S. Ernployment Opportunity Commission (“EEOC”)
reviewed the complaint.
On August 10, 2017 the EEOC issued a determination finding that there was reasonable
cause to believe that Citi refused to provide reasonable accommodations, starting on or
about April 2013 and continuing through May 14, 2013.
The EEOC also found that there was reasonable cause to believe that Hazen was
discharged in retaliation for requesting reasonable accommodations
A Right to Sue Letter was mailed by the EEOC on December l, 2017.
COUNT 1 _ DISCRIMINATION
IN VIOLATION OF THE AMERICANS WI'I`H DISABILITIES ACT

42 U.s.C. §§ 12-101 erqu

COMPLAINT AND DEMAND FOR .]URY TRIAL
Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 6 of 8

AND THE IDAHO HUMAN RIGHTS ACT, I.C. §§ 67-5901 et seq
Hazen realleges the preceding paragraphs
Hazen has a disability within the meaning of the ADA.
Citi is an employer subject to the provisions of the ADA.
Hazen requested reasonable accommodations for his disability by asking for the offline
MAU position in late April, 2013.
Hazen was qualified for that position.
Citi already had the position open.
The position would pay less than the current position Hazen was in.
lt would not have been an undue burden upon Citi to assign Hazen to the offline MAU
position.
Failure to reasonably accommodate Hazen by assigning him to the offline MAU position
was a violation of the ADA.
COUNT II _ DISCRIMINATION
IN VIOLA'I`ION OF THE AMERICANS WITH DISABILITIES ACT
42 U.S.C. §§ 12-101 et seq
AND THE IDAHO HUMAN RIGHTS ACT, I.C. §§ 67-5901 et seq

Hazen realleges the preceding paragraphs
Hazen has a disability within the meaning of the ADA.
Citi is an employer subject to the provisions of the ADA.
Hazen requested reasonable accommodations for his disability by asking for temporary

unpaid leave in May 2013.

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

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Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 7 of 8

1riailure to reasonably accommodate Hazen by providing temporary unpaid leave was a
violation of the ADA.
COUNT III - RETALIATION
IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
42 U.S.C. §§ 12-101 er seq
AND THE IDAHO HUMAN RIGHTS ACT, I.C. §§ 67-5901 et seq
Hazen realleges the preceding paragraphs
Hazen has a disability within the meaning of the ADA.
Citi is an employer subject to the provisions of the ADA.
Hazen requested temporary unpaid leave in May 2013.
Soon after the leave request, Citi terminated Hazen’s employment
Terminating Hazen after his request for accommodation is a violation of the ADA
DEMAND FOR JURY TRIAL
Hazen requests a jury trial in accordance with F.R.C.P. 38(b).

PRAYER FOR RELIEF

Accordingly, Hazen requests judgment against CITI as follows:

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Damages for lost salary and lost benefits, in an amount to be proven at trial;

Damages for emotional harm, in an amount to be proven at trial;

Punitive damages, in an amount to be proven at trial;

Pre- and post-judgment interest as provided by law;

Attorneys’ fees and costs allowed under the ADA, under the Civil Rights Act, I.C. § 12-

121, F.R.C.P 54(d), and other laws; and

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

Case 1:18-cV-00103-BLW Document 1 Filed 02/28/18 Page 8 of 8

6. Any other relief this Court deems fair and equitable

DATED this ZQ day of February, 2018.

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EricA.H'aéenl v V
Plaintiff

COMPLAINT AND DEMAND FOR JURY TRIAL
Hazen v. Citi
Case No.

